
In re Federal Insurance Company; Agricultural Insurance Company; American National Fire Insurance Company; Travelers Casualty &amp; Surety Co. f/k/a; Aetna Casualty &amp; Surety Co.; RLI Insurance Co.; United National Insurance Co.; Transportation Insurance Co; Westchester Fire Insurance Co.; — Defendants; Applying for Writ of Certiorari and/or Review, Parish of Washington, 22nd Judicial District Court Div. C, No. 73,381; to the Court of Appeal, First Circuit, No. 1999 CA 1795.
Denied.
VICTORY, J., would grant the writ.
TRAYLOR, J., would grant the writ.
